          Case 4:14-cv-00303-JM Document 13 Filed 10/07/14 Page 1 of 4



                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DIVISION

FREDA A. TAYLOR                                                           PLAINTIFF

VS.                                 CASE NO: 4:14CV303-JMM

ASSOCIATION OF ARKANSAS COUNTIES
DEBBIE NORMAN
CHRIS VILLINES                                                        DEFENDANTS

     PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE
   RESPONSE TO DEFENDANT’S MOTION TO DISMISS AND FOR A
                 MORE DEFINATE STATEMENT

        COMES now the Plaintiff, Freda Taylor, by and through her attorney,

Teresa Bloodman, and moves this Court for an extension of time to file a response

to the Defendant’s Motion to Dismiss and for a More Definite Statement and as

the basis for said motion states:

        1. That Plaintiff’s response is due to be filed in this matter on October 8,

2014.

        2. That counsel needs additional time to complete and file said brief due to

a number of factors including but not limited to the fact that on the night of

October 2, 2014, a severe thunderstorm hit the undersigned’s home causing

electrical power outage, damage to her house and yard. Power was not restored

until the night of October 4, 2014. Due to the recent storm, the undersigned has




                                            1
         Case 4:14-cv-00303-JM Document 13 Filed 10/07/14 Page 2 of 4



lost critical days of productively completing said response. The recent storm has

frustrated the ability to complete the response.

      3. That additionally counsel needs additional time to complete and file said

brief due to a number of factors, including but not limited to the preparation of

other appellate briefs with the Arkansas Supreme Court and/or Arkansas Court of

Appeals and previously scheduled court appearances and trials which caused the

undersigned to be out of the office for an extended time and the recent severe

thunderstorms with electrical power outage during the last few days.

      4. That the undersigned is a solo practitioner and this does not have the

assistance of other in-house counsel to minimize the workload.

      5. The undersigned will not be able to meet the deadline due to other

previously scheduled state court appearances, preparation of scheduled criminal

trials, and other briefs due in the state appellate courts, of which these dates are

running concurrent and the recent electrical power outage during this weekend,

which has severely frustrated the ability to complete said brief and the

aforementioned in preceding paragraphs herein.

      6. The undersigned is very grateful and appreciates the Court for

understanding the present conflicts.

      7. It is expected that the undersigned will be able to complete and file said

response with the extension of an additional thirty (30) days.


                                           2
         Case 4:14-cv-00303-JM Document 13 Filed 10/07/14 Page 3 of 4



      8. An extension of time is needed in this matter as it relates to any other

requirements of the court for a period of thirty (30) days.

      9. That movant makes this motion in good faith and is not made for the

purposes of any delay or other illegitimate purposes.

      10. That the undersigned has attempted to confer with opposing counsel

prior to filing this motion.

      11. That this motion is in the best interest of justice.

      12. That it is In the interest of fairness and justice, plaintiff requests an

additional thirty (30) days to file a response to defendant’s motion to dismiss and

for a more definite statement.

          WHEREFORE, the undersigned respectfully requests this Court to grant

this motion for an extension of time to respond to the motion to dismiss and for a

more definite statement of thirty (30) days in which to complete and file plaintiff’s

response and for all other proper relief deemed proper and just.

                                        Respectfully Submitted,

                                        /s/Teresa Bloodman# 2005055
                                        Attorney for Plaintiff
                                        P.O. Box 13641
                                        Maumelle, AR 72113
                                        Telephone: (870) 550-1940
                                        teresabloodman@yahoo.com




                                           3
        Case 4:14-cv-00303-JM Document 13 Filed 10/07/14 Page 4 of 4



                            CERTIFICATE OF SERVICE

I, Teresa Blood man, hereby certify that on this 7th day of October 2014, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF
System, which will send notification of such filing to all CM/ECF participating
counsel of record listed below; and I further certify that I have mailed the
document, via U.S. Mail, postage prepaid, to all non CM/ECF participants listed
below:

William Stuart Jackson
Attorney for Defendant
WRIGHT, LINDSEY & JENNINGS LLP
200 West Capitol, Suite 2300
Little Rock, AR 72201-3699
Telephone: (501) 371-0808
Fax: (501) 367-9442
www.wlj.com




                                                  /s/Teresa Bloodman




                                        4
